John A. Leonard, Esquire

LEONARD,

KEY & KEY, PLLC

900 Eighth Street -- Suite 320
Post Office Box 8385

Wichita Falls, Texas 76307-8385
Telephone: 940-322-5217

Facsimile:

940-322-3381

Attorneys for Debtors

IN RE:

MICHAEL EDWARD LEUE and
CONMSTANCE ELLEN LEDUE

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS
WICHITA FALLS DIVISION

GI “Oe M2 GI (>

Debtors CHAPTER I1

TABLE OF CONTENTS
DISCLOSURE

ARTICLE I VOTING PROCEDURE

A.

Voting Procedure
1. Time and Place of Hearing
2. Deadline for Voting to Accept or Reject the Plan

ARTICLE IT MISCELLANEOUS INFORMATION

FudbTrAmogaap

. Identity of Person to Contact for More Information
. Disclaimer

. Current and Historical Financial Conditions

. Financial Information

Debtors’ Operations

Means of Implementing Plan
Source of Payments
Post-confirmation Management

. Risk Factors

Tax Consequences of Plan

ARTICLE II] CONFIRMATION REQUIREMENTS AND PROCEDURES

A.

HO RYN

Who may Vote or Object

What is an Allowed Claim or Allowed Equity Interest?
What is an Impaired Claim or Impaired Equity Interest?
Who is Not Entitled to Vote

Who Can Vote in More than One Class

. Votes Necessary to Confirm the Plan

Votes Necessary for a Class to Accept the Plan

CASE NO. 19-70323-HDH-11

—

WWW W WW PNM N bP bo

Dann Sf HW
2. Treatment of Nonaccepting Classes

C. Liquidation Analysis

D. Feasibility

1. Ability to Initially Fund Plan

2. Ability to Make Future Plan Payments and Operate
Without Further Reorganization

ARTICLE IV EFFECT OF CONFIRMATION OF PLAN

A. Discharge of Debtor

B. Modification of Plan

C. Final Decree

PLAN

ARTICLE V BACKGROUND INFORMATION
ARTICLE VI SUMMARY
ARTICLE VII CLASSIFICATION OF CLAIMS AND INTEREST

ARTICLE VII] TREATMENT OF ADMINISTRATIVE EXPENSE
CLAIMS, U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

ARTICLE [IX TREATMENT OF CLAIMS AND INTEREST UNDER
THE PLAN

ARTICLE X ALLOWANCE AND DISALLOWANE OF CLAIMS

ARTICLE XI PROVISIONS FOR EXECUTORY CONTRACTS
AND UNEXPIRED LEASES

ARTICLE XII MEANS FOR IMPLEMETATION OF THE PLAN
ARTICLE XUI GENERAL PROVISIONS

ARTICLE XIV DISCHARGE

SDD D

on ~~

10

10

1]

13

14

14

14

17
John A. Leonard, Esquire
LEONARD, KEY & KEY, PLLC
900 Eighth Street -- Suite 320
Post Office Box 8385

Wichita Falls, Texas 76307-8385
Telephone: 940-322-5217
Facsimile: 940-322-3381
Attorneys for Debtors

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
WICHITA FALLS DIVISION

IN RE:

MICHAEL EDWARD LEUE and CASE NO. 19-70323-HDH-11

CONMSTANCE ELLEN LEDUE

GP WG GP Gn UGA

Debtors CHAPTER 11

DEBTORS’ FIRST AMENDED PLAN OF REORGANIZATION, DATED MAY 4, 2020

ARTICLE I

A.
VOTING PROCEDURE

Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

The Court has not yet confirmed the Plan. This section describes the procedures pursuant
to which the Plan will or will not be confirmed.

1.
Time and Place of the Hearing to Finally Approve This Disclosure Statement and Confirm the
Plan

The hearing at which the Court will determine whether to finally approve this Disclosure
Statement and confirm the Plan will take place on June 17, 2020, at 10:A. M., at the United
States Bankruptcy Court for the Northern District of Texas, Wichita Falls Division, 1000 Lamar
Street, Room 216A, U.S. Post Office and Courthouse, Wichita Falls, Texas 76301.

2.
Deadline For Voting to Accept or Reject the Plan
If you are entitled to vote to accept or reject the plan, vote on the enclosed ballot and
return the ballot in the enclosed envelope to John A. Leonard, 900 8" Street, Suite 320, Wichita
Falls, TX 76301. See section XI for a discussion of voting eligibility requirements.

Your ballot must be received by June 1, 2020, or it will not be counted.
ARTICLE II.
MISCELLANEOUS INFORMATION
Deadline For Objecting to the Adequacy of Disclosure and Confirmation of the Plan

Objections to this Disclosure Statement or to the confirmation of the Plan must be filed
with the Court and served upon John A. Leonard, 900 8" Street, Suite 320, Wichita Falls, TX
76301 by June 8, 2020.

A.
Identity of Person to Contact for More Information

If you want additional information about the Plan, you should contact John Leonard,
Leonard, Key, & Key PLLC 900 gin Street, Suite 320, Wichita Falls, Texas 76301, phone
number (940) 322-5217.

B.
Disclaimer

The Court has conditionally approved this Disclosure Statement as containing
adequate information to enable parties affected by the Plan to make an informed judgment
about its terms. The Court has not yet determined whether the Plan meets the legal
requirements for confirmation, and the fact that the Court has approved this Disclosure
Statement does not constitute an endorsement of the Plan by the Court, or a recommendation
that it be accepted. The Court’s approval of this Disclosure Statement is subject to final
approval at the hearing on confirmation of the Plan. Objections to the adequacy of this
Disclosure Statement may be filed until ?.

C.
Current and Historical Financial Conditions

The identity and fair market value of the estate’s assets are listed in Exhibit A. Debtors
determined the fair market value of the assets based upon their knowledge of the market for the
assets and the use of tax valuations.

D.
FINANCIAL INFORMATION
The Debtor’s most recent financial statements issued before bankruptcy, each of which
was filed with the Court, are set forth in Exhibit B.

E.
DEBTORS’ OPERATIONS

The most recent post-petition operating report filed since the commencement of the
Debtor’s bankruptcy case is set forth in Exhibit C.

F.
Means of Implementing the Plan

1.
Source of Payments

Payments and distributions under the Plan will be funded in the following manner:
Debtors will continue to operate their businesses. The proceeds from the operations will be used
to make the plan payments.

2.
Post-confirmation Management

Debtors shall continue to manage the operations.

3.
Risk Factors

The proposed Plan has the following risks: As with any business, general economic
conditions affect the profitability of the business. However, with the reduction of debt and the
amount of payments, plus the fact that Mr. Ledue has been business since 1979, Debtors believe
that the risk factors are not any greater than those incurred by any similar business.

4,
Tax Consequences of Plan

Creditors Concerned with How the Plan May Affect Their Tax Liability Should
Consult with Their Accountant, Attorneys, And/Or Advisors.

The following are the anticipated tax consequences of the Plan: Debtors do not anticipate
that the Plan will cause them to suffer any adverse tax consequences,

ARTICLE IL.
CONFIRMATION REQUIREMENTS AND PROCEDURES
To be confirmable, the Plan must meet the requirements listed in §§ 1129(a) or (b) of the
Code. These include the requirements that: the Plan must be proposed in good faith; at least one
impaired class of claims must accept the plan, without counting votes of insiders; the Plan must
distribute to each creditor and equity interest holder at least as much as the creditor or equity
interest holder would receive in a chapter 7 liquidation case, unless the creditor or equity interest
holder votes to accept the Plan; and the Plan must be feasible. These requirements are not the
only requirements listed in § 1129, and they are not the only requirements for confirmation.

A.
Who May Vote or Object

Any party in interest may object to the confirmation of the Plan if the party believes that
the requirements for confirmation are not met.

Many parties in interest, however, are not entitled to vote to accept or reject the Plan. A
creditor or equity interest holder has a right to vote for or against the Plan only if that creditor or
equity interest holder has a claim or equity interest that is both (1) allowed or allowed for voting
purposes and (2) impaired.

In this case, the Plan Proponent believes that classes 2 through 6 are impaired and that
holders of claims in each of these classes are therefore entitled to vote to accept or reject the
Plan. The Plan Proponent believes that class 1 is unimpaired and that holders of claims in this
class, therefore, do not have the right to vote to accept or reject the Plan.

1.
What Is an Allowed Claim or an Allowed Equity Interest?

Only a creditor or equity interest holder with an allowed claim or an allowed equity
interest has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either
(1) the Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has been
scheduled as disputed, contingent, or unliquidated, or (2) the creditor has filed a proof of claim
or equity interest, unless an objection has been filed to such proof of claim or equity interest.
When a claim or equity interest is not allowed, the creditor or equity interest holder holding the
claim or equity interest cannot vote unless the Court, after notice and hearing, either overrules
the objection or allows the claim or equity interest for voting purposes pursuant to Rule 3018(a)
of the Federal Rules of Bankruptcy Procedure.

The deadline for filing a proof of claim in this case was March 16, 2020.

2.
What Is an Impaired Claim or Impaired Equity Interest?

As noted above, the holder of an allowed claim or equity interest has the right to vote
only if it is in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class
is considered impaired if the Plan alters the legal, equitable, or contractual rights of the members
of that class.

3.
Who is Not Entitled to Vote

The holders of the following five types of claims and equity interests are not entitled to
vote:
¢ holders of claims and equity interests that have been disallowed by an order of the
Court;

* holders of other claims or equity interests that are not “allowed claims” or
“allowed equity interests” (as discussed above), unless they have been “allowed”
for voting purposes.

* holders of claims or equity interests in unimpaired classes;

¢ holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and (a)(8) of
the Code; and

* holders of claims or equity interests in classes that do not receive or retain any
value under the Plan;

¢ administrative expenses.

Even If You Are Not Entitled to Vote on the Plan, You Have a Right to Object to the Confirmation
of the Plan and to the Adequacy of the Disclosure Statement.

4,
Who Can Vote in More Than One Class

A creditor whose claim has been allowed in part as a secured claim and in part as an unsecured
claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a Plan in each
capacity, and should cast one ballot for each claim.

B.
Votes Necessary to Confirm the Plan

If impaired classes exist, the Court cannot confirm the Plan unless (1) at least one impaired
class of creditors has accepted the Plan without counting the votes of any insiders within that class, and
(2) all impaired classes have voted to accept the Plan, unless the Plan is eligible to be confirmed by a
cram down on non-accepting classes,
1.
Votes Necessary for a Class to Accept the Plan

A class of claims accepts the Plan if both of the following occur: (1) the holders of more than
one-half (1/2) of the allowed claims in the class, who vote, cast their votes to accept the Plan, and (2)
the holders of at least two-thirds (2/3) in dollar amount of the allowed claims in the class, who vote,
cast their votes to accept the Plan.

A class of equity interests accepts the Plan if the holders of at least two-thirds (2/3) in amount
of the allowed equity interests in the class, who vote, cast their votes to accept the Plan.

2.
Treatment of Nonaccepting Classes

Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm the
Plan if the nonaccepting classes are treated in the manner prescribed by § 1129(b) of the Code. A plan
that binds nonaccepting classes is commonly referred to as a cram down plan. The Code allows the
Plan to bind nonaccepting classes of claims or equity interests if it meets all the requirements for
consensual confirmation except the voting requirements of § 1129(a)(8) of the Code, does not
discriminate unfairly, and is fair and equitable toward each impaired class that has not voted to accept
the Plan.

You should consult your own attorney if a cramdown confirmation will affect your claim or equity
interest, as the variations on this general rule are numerous and complex.

Cc.
Liquidation Analysis

To confirm the Plan, the Court must find that all creditors and equity interest holders who do
not accept the Plan will receive at least as much under the Plan as such claim and equity interest
holders would receive in a chapter 7 liquidation bankruptcy case. A liquidation analysis is attached to
this Disclosure Statement as Exhibit D.

D.
Feasibility

The Court must find that confirmation of the Plan is not likely to be followed by the
liquidation, or the need for further financial reorganization, of the Debtor or any successor to the
Debtor, unless such liquidation or reorganization is proposed in the Plan.
1.
Ability to Initially Fund Plan

The Plan Proponent believes that the Debtor will have enough cash on hand on the
effective date of the Plan to pay all the claims and expenses that are entitled to be paid on that
date. Tables showing the amount of cash on hand on the effective date of the Plan, and the
sources of that cash are attached to this plan as Exhibit E.

2.
Ability to Make Future Plan Payments And Operate Without Further Reorganization

The Plan Proponent must also show that it will have enough cash over the life of the Plan
to make the required Plan payments.

The Plan Proponent has provided projected financial information. Those projections are
listed in Exhibit F.

The Plan Proponent’s financial projections show that the Debtor will have an aggregate
annual average cash flow, after paying operating expenses, post-confirmation taxes, and Plan
payments of $5,340.55 for the first three years. After the third year the Plan payments reduce to
$1,992.55.

A cash flow analysis is attached hereto as Exhibit F.

You Should Consult with Your Accountant or other Financial Advisor If You Have
Any Questions Pertaining to These Projections.

ARTICLE IV.
EFFECT OF CONFIRMATION OF PLAN

A.
Discharge of Debtor

Discharge. Confirmation of the Plan does not discharge any debt provided for in the Plan
until the court grants a discharge on completion of all payments under the Plan, or as otherwise
provided in § 1141(d)(5) of the Code. Debtor will not be discharged from any debt excepted from
discharge under § 523 of the Code, except as provided in Rule 4007(c) of the Federal Rules of
Bankruptcy Procedure.

B.
Modification of Plan
The Plan Proponent may modify the Plan at any time before confirmation of the Plan.
However, the Court may require a new disclosure statement and/or revoting on the Plan.

Upon request of the Debtor, the United States trustee, or the holder of an allowed
unsecured claim, the Plan may be modified at any time after confirmation of the Plan but before
the completion of payments under the Plan, to (1) increase or reduce the amount of payments
under the Plan on claims of a particular class, (2) extend or reduce the time period for such
payments, or (3) alter the amount of distribution to a creditor whose claim is provided for by the
Plan to the extent necessary to take account of any payment of the claim made other than under
the Plan.

Cc.
Final Decree

Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Plan Proponent, or such other party as the Court shall designate in the
Plan Confirmation Order, shall file a motion with the Court to obtain an order conditionally
closing the case subject to reopening at a later date so that Debtors may get their discharge.
Alternatively, the Court may enter such a final decree on its own motion.

The Court has conditionally approved this Disclosure Statement as containing adequate
information to enable parties affected by the Plan to make an informed judgment about its
terms. The Court has not yet determined whether the Plan meets the legal requirements for
confirmation, and the fact that the Court has approved this Disclosure Statement does not
constitute an endorsement of the Plan by the Court, or a recommendation that it be accepted.
The Court’s approval of this Disclosure Statement is subject to final approval at the hearing
on confirmation of the Plan. Objections to the adequacy of this Disclosure Statement may be
filed until >.

ARTICLE V
BACKGROUND INFORMATION

A.

HISTORY OF DEBTORS’ BUSINESS

 

M.E. Ledue Properties:

Throughout his adult life in Wichita Falls, Michael has bought, rented, and sold property.
Some were short-term ownerships and others have been long-term. Some have been commercial
properties — all of which have been sold at this point; many have been residential. Most of the
residential properties were single-family dwellings; however, he owns three buildings that have

8
“quadruplexes” on them — a single building containing four apartments. At the present time, in
addition to the “quads”, he owns a single-family house with a separate house on the back of the
lot and a parking lot to the side, and two (2) vacant lots (one that could be built on and one that
cannot be used for anything other than a vacant lot).

M.E. Ledue Construction:

M.E. Ledue Construction came into existence in April of 1979 — shortly after the tornado
hit Wichita Falls. It was not an incorporated business, but simply a dba. At some point in the late
80’s — early 90’s, Michael partnered with a friend who had “Storm King Storm Windows” and
he ran both of them. As that faded out, he partnered with another man, who knew glass and
glazing, to do a large job at Sheppard Air Force Base. At this point, City Glass & Mirror (a dba)
came into existence and M.E. Ledue Construction became a side job. Michael has continued to
do construction jobs throughout the years — under this dba.

City Glass & Mirror - MELM City Glass & Mirror, Inc. dba City Glass & Mirror -MC
Team Ltd dba City Glass:

Between bidding and being awarded the job at SAFB and the actual start of the job, the
other man sent his regrets and moved to Saudi Arabia for a different job. Michael completed the
job and began to build his reputation in glass. He incorporated the business in 2004 as MELM
City Glass & Mirror, Inc. with himself as the only stockholder — and continued to build his
reputation.

During this time, Connie had been a stay-at-home mother to their children. She had also
been a substitute teacher at their children’s school for 15-18 years, had eventually gotten her
teaching certificate and taught in the public school system for 3 1/2 years. During summer
breaks, Connie worked in the office of City Glass & Mirror learning the business and providing
coverage for office staff vacations. In June of 2007, she began working full-time at City Glass &
Mirror as she prepared to interview for a different kind of position. During the year of 2008,
Connie worked full-time as an International Tour Manager — and subsequently worked part-time
at that job through 2017. As the office staff was reduced by attrition, Connie assumed their jobs
and duties.

Government jobs are put up for bid. There is an advantage in bidding if your company is
“minority-owned”, “veteran-owned”, or “woman-owned”. As these can be lucrative jobs, the
decision was made to form a new corporation for the business that was “woman-owned.”
Therefore, in February of 2017, MC Team Ltd was formed; Michael owns 49% of the stock and
Connie owns 51%. The dba for this corporation is City Glass.

The primary focus of the business at the current time is commercial work and residential

showers.
B.

BUSINESS TRANSACTIONS SINCE FILING

9
Since the bankruptcy petition was filed Debtors have continued to operate their business
interests.

Construction Jobs:
1. In Progress - O'Briens on Scott Street - $12,760.00 total at this point, $3,500.00 paid to
date. This job is on hold at the moment.
2. Gary Mehan — Jacksboro Hwy and US 281 continuing. Has received $6000.00

Leasing:
1. 14th St. to MC Team Ltd - $150 / month
2. Equipment & Tools to MC Team Ltd - $100 / month
3. Auto Lease - Van to MC Team Ltd - $100 / month
4. Auto Lease - Truck to MC Team Ltd - $100 / month
5. Auto Lease - Subaru to MC Team Ltd - 488.29 / month

Rental Income
1. Quadraplexes rental income of $20,909.00

ARTICLE VI
PLAN SUMMARY

This Plan of Reorganization (the “Plan”) under chapter 11 of the Bankruptcy Code (the
“Cade”) proposes to pay creditors of Michael Edward Ledue and Constance Ellen Ledue (the
“Debtors”) from cash flow from operations. This Plan provides for 4 classes of secured claims;
one class of unsecured claims; and one class of administrative claims. Unsecured creditors
holding allowed claims will receive distributions, which the proponent of this Plan has valued at
approximately 5% of their claim. This Plan also provides for the payment of administrative and

priority claims.

All creditors and equity security holders should refer to Articles III through VI of this
Plan for information regarding the precise treatment of their claim. A disclosure statement that
provides more detailed information regarding this Plan and the rights of creditors and equity
security holders has been circulated with this Plan. Your rights may be affected. You should
read these papers carefully and discuss them with your attorney, if you have one. (If you do
not have an attorney, you may wish to consult one.)

ARTICLE VII
CLASSIFICATION OF CLAIMS AND INTERESTS

2.01 Class 1. Administrative Claims

10
Class 2. Ad valorem Tax Claims

Class 3. Union Square Credit Union

Class 4. FNA DZ

Class 5, Bank of the West

Class 6. First National Bank

Class 7. Unsecured Claims
ARTICLE VIII

TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, U.S.
TRUSTEES FEES, AND PRIORITY TAX CLAIMS

3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
and priority tax claims are not in classes.

3.02 Administrative Expense Claims. Each holder of an administrative expense claim
allowed under § 503 of the Code will be paid in full on the effective date of this Plan (as defined
in Article VII), in cash, or upon such other terms as may be agreed upon by the holder of the
claim and the Debtors.

3.03 Priority Tax Claims. Debtors does not owe any priority tax debts

3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
will accrue and be timely paid until the case is closed, dismissed, or converted to another chapter
of the Code. Any U.S. Trustee Fees owed on or before the effective date of this Plan will be paid

on the effective date.

ARTICLE IX
TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

4.01 Claims and interests shall be treated as follows under this Plan:

 

 

Class Impairment Treatment
Class 1 - Unimpaired Paid upon allowance
Administrative
Claims

 

 

 

 

 

11
 

This claim will be paid over 36 months with

 

 

 

 

 

Class 2 — Ad Impaired :

valorem Tax interest at 12%

Claims

Class 3 — Union Impaired a. Home Equity Loan-This claim will be paid in

Square Credit full from the sale of the house located at 1605

Union Carol Lane. Interest will accrue at the rate of
4.5%. Union Square will retain its lien on the
property.
b. Quadraplex Loan-This claim will be paid
over 20 years with interest at 4.5%. Union
Square will retain its lien on the property.

Class 4 FNA Impaired This claim will be paid over 36 months with

DZ, interest at 15.9%. Claimant will retain its lien on
the property.

Class 5 - Bank of | Impaired The claim is secured on a 2015 Subaru Outback,

the West VIN 4S4BSENC9F3226768 and will be paid
over sixty (60)

Class 6 - First Unimpaired 2212 5" Street, that the class member values at

National Bank

 

 

$94,717.00, will be surrendered to the class
member in full satisfaction of its claim of
$32,195.43.

 

12

 
 

Unsecured Claims - Members of this class shall
receive the value, as of the effective date of the
plan, of the property to be distributed under the
plan on account of such claim that is equal to the
amount of the claim; or the value of the property
to be distributed under the plan is not less than
the projected disposable income of the debtor (as
defined in section 1325(b)(2)) to be received
during the 5-year period beginning on the date
that the first payment is due under the plan, or
during the period for which the plan provides
payments, whichever is longer. Annual payments
will commence on initial anniversary date of the
Plan’s confirmation and continue on the same
date of each successive year until the fifth and
final annual payment has been made. The value
of the property to be distributed under the Plan is
a class member’s prorata share of the allowed
unsecured claims.

Unsecured Claims — Not withstanding any other
provisions of the Plan, entities holding unsecured
claims, unless the entity has previously filed a
claim, must file a proof of claim on or before 60
days from the date this Plan is confirmed. If an
entity does not file a proof of claim timely its
claim is disallowed. Debtor will have 60 days to
review the claim after the filing deadline has
passed and may file an objection to the claim. If
an objection is not filed within the applicable
time period, the claim is deemed allowed. If an
objection is filed, a hearing will be set pursuant
the Bankruptcy Rules of Procedure. The claim
will be treated as provided by the Court’s order
on the objection.

Class 7 - Impaired
Unsecured

 

 

 

 

 

ARTICLE X
ALLOWANCE AND DISALLOWANCE OF CLAIMS

5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or
disallowed [by a final non-appealable order], and as to which either: (i) a proof of claim has been
filed or deemed filed, and the Debtors or another party in interest has filed an objection; or (ii) no

13
proof of claim has been filed, and the Debtors has scheduled such claim as disputed, contingent,
or unliquidated.

5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on
account of a disputed claim unless such claim is allowed by a final non-appealable order.

5.03 Settlement of Disputed Claims. The Debtors will have the power and authority
to settle and compromise a disputed claim with court approval and compliance with Rule 9019 of
the Federal Rules of Bankruptcy Procedure.

ARTICLE XI
PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.01 Assumed Executory Contracts and Unexpired Leases.

 

(a) The Debtors assumes the following executory contracts and/or unexpired
leases effective upon the effective date of this Plan as provided in Article VII, ISPC:

(b) The Debtors will be conclusively deemed to have rejected all executory
contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or before
the date of the order confirming this Plan, upon the effective date of this Plan. A proof of a
claim arising from the rejection of an executory contract or unexpired lease under this section
must be filed no later than thirty (30) days after the date of the order confirming this Plan.

ARTICLE XII
MEANS FOR IMPLEMENTATION OF THE PLAN

Debtors will continue to operate their businesses. Connie Ledue will control the financial
and management while Michael will control the actual construction. From the income generated
from the operations the Debtors will make the payments required by the plan

ARTICLE XIII
GENERAL PROVISIONS

8.01 Definitions and Rules of Construction. The definitions and rules of construction
set forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code
are used in this Plan, and they are supplemented by the following definitions:

a. The term "Bankruptcy Code" or "Code" shall mean Title 11 of the United States

Code.
b. The term "Plan" shall mean Debtors’ plan of reorganization.
c. The term "year" shall mean 365 days after a certain date.

 

14
. The term "Court" shall mean the United States Bankruptcy Court for the Northern
District of Texas, Wichita Falls Division.
The term "Allowed Claim" shall mean (i) a Claim that has been allowed by a final
Order of the Bankruptcy Court or, (i1) a Claim timely filed with the Clerk of the Court
or scheduled as liquidated, undisputed and noncontingent by the Debtors in its
respective Schedules, Lists, and Statements of Financial Affairs and Executory
Contracts heretofore filed with the Bankruptcy Court as they may be amended or
supplemented (collectively, the "Schedules"), as to which Claim no objection to the
allowance thereof has been interposed within the period of time fixed by the Code or
by a final Order of the Bankruptcy Court, or as to which claim either an objection to
the claim or an application to amend the Schedules with respect to a scheduled Claim
has resulted in the allowance of a Claim, in whole or in part, by a final Order of the
Bankruptcy Court. The bar date for filing claim objections is six months after date of
confirmation.
The term "substantial consummation" shall mean transfer of property to be
transferred under the plan, assumption of management by the Debtors as reorganized,
and the commencement of distribution under the plan.
"Administrative Expense" shall mean a cost or expense of the administration of the
Chapter 11 case, including any actual and necessary expenses of preserving the estate,
and any actual and necessary expenses of operating the Debtors’ business from and
after the filing date, to and including the date of confirmation, and all costs of
administration allowed by the Court in accordance with the Code.
. "Impaired Claim" or "Impaired Creditor" shall refer to the definition of an impaired
claim or interest set forth in 11 U.S.C. § 1124. Paraphrasing that definition, a claim
or interest is impaired if the Plan of Reorganization alters the rights to which the
holder of the claim or interest would otherwise be entitled in the absence of the
Chapter 11. The Code requires that the Plan designate whether a claim or interest is
impaired or unimpaired and specify the treatment to be given impaired claims or
interests.
"Secured claim" shall mean an allowed claim of a creditor secured by a lien on
property in which the estate has an interest, or that is subject to set off under § 553 of
the Code to the extent of the value (determined in accordance with § 506(a) of the
Code) of such creditor's interest in the estate's interest in such property or to the
extent of the amount subject to set off.
"Unsecured Claim" or "Unsecured Creditor" shall mean any creditor of the Debtors
who holds a claim for an unsecured debt, liability, demand or claim of any character
whatsoever, including a secured claim to the extent that liquidation of the collateral
would not satisfy its claim.
. The term "Property" shall mean all that certain real and personal property described in
the Debtors’ schedules.

15
8.02 Effective Date of Plan. The effective date of this Plan is the eleventh
business day following the date of the entry of the order of confirmation. But if a stay of
the confirmation order is in effect on that date, the effective date will be the first business
day after that date on which no stay of the confirmation order is in effect, provided that
the confirmation order has not been vacated.

8.03 Severability. If any provision in this Plan is determined to be
unenforceable, the determination will in no way limit or affect the enforceability and
operative effect of any other provision of this Plan.

8.04 Binding Effect. The rights and obligations of any entity named or
referred to in this Plan will be binding upon, and will inure to the benefit of the
successors or assigns of such entity.

8.05 Captions. The headings contained in this Plan are for convenience of
reference only and do not affect the meaning or interpretation of this Plan.

8.06 Controlling Effect. Unless a rule of law or procedure is supplied by
federal law, including the Code or the Federal Rules of Bankruptcy Procedure, the laws
of the State of Texas govern this Plan and any agreements, documents, and instruments
executed in connection with this Plan, except as otherwise provided in this Plan.

8.07 Continuing Jurisdiction. Until all of the obligations of the Debtors are
completed hereunder, the Court shall retain jurisdiction to insure that this plan is carried
out and determine such other matters in connection with this proceeding, including but
not limited to:

(a) Determine all valid liens and claims (and amounts) against
the Debtors and its property;

(b) Allow the Debtors to enforce any claims or causes of action
which exists in its favor and which may not have previously been
enforced by the Debtors;

(c) Settle any disputes between the Debtors and its creditors;

(d) Continue jurisdiction and staying enforcement of any liens
or claims under confirmation of this plan;

(e) Allow the Debtors the rights and powers as Debtors-in-
Possession (which includes the rights and powers of a trustee under
the Bankruptcy Code existing in favor of a Debtors-in Possession
before confirmation), to enforce causes of action which may not
have been previously enforced or prosecuted herein by the Debtors
as Debtors-In-Possession, and allowing the Debtors to reserve all

16
of those rights and powers held by it as Debtors-in-Possession
before confirmation;

(f) Approve or confirm a modification of this plan after
confirmation proposed by the Debtors, and to grant moratoria and
extensions of payments to creditors in any of the classes set out
above for any reasonable period of time due to circumstances
presently unforeseeable (only the Debtors may propose
modifications of the plan after confirmation, pursuant to this
retention of jurisdiction provisions of this plan); and

(g) Retain such other jurisdiction as will insure that the interest
and purposes of this plan are fulfilled.

ARTICLE XIV
DISCHARGE

9.01. Discharge. Confirmation of this Plan does not discharge any debt
provided for in this Plan until the court grants a discharge on completion of all payments
under this Plan, or as otherwise provided in § 1141(d)(5) of the Code. The Debtors will
not be discharged from any debt excepted from discharge under § 523 of the Code,
except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.

Respectfully submitted,

By: /s/ Michael Edward Ledue
Michael Edward Ledue
/s/ Constance Ellen Ledue
Constance Ellen Ledue
The Plan Proponent

 

By: /s/ John A. Leonard
Attorney for the Plan Proponent

17
EXHIBIT “A”
Fill in this information to identify your case and this filing:

Debtor 1 Michael Edward Ledue
First Name Middie Name Last Name

Debtor 2 Constance Ellen Ledue
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

Case number 19-70323-11 Check if this is an

if k
(if known) amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. !f two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

oO Na. Go to Part 2.
Yes. Where is the property?

 

 

 

 

 

 

41. What is the property? Do not deduct secured claims or exemptions. Put the
411 Polk Check all that apply. amount of any secured claims on Schedule D:
Street address, f available, or olher description [J Single-family home Creditors Who Have Claims Secured by Property.
(J Duplex or multi-unit building Current value of the Current value of the
( Condominium or cooperative entire property? portion you own?
Wichita Falls TX 76301 ( Manufactured or mobile home $42,800.00 $42,800.00
City State ZIP Code (J Land
[ !nvestment property Describe the nature of your ownership
oO Timeshare interest (such as fee simple, tenancy by the
a Oo Other entireties, or a life estate), if known.
unty
. . Fee Simple
wo, Who h te tin the pro ?
411 Polk, Wichita Falls, TX 76301 Choneone ee eopery
TR 15A 52X84 Ft Abst 300-) , Co .
CD Debtor 1 only Check if this is community property
D Debtor 2 only (see instructions)

fy] Debtor 1 and Debtor 2 only
oO At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AJB: Property page 1
 

 

Debtor 1 Michael Edward Ledue
Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11
1.2. What is the property? Do not deduct secured claims or exemptions. Put the

1605 Carol Lane

 

Street address, if available, or olher description

 

 

 

Wichita Falls TX 76302
City State ZIP Code
County

1605 Carol Lane, Wichita Falls, TX
76302

136.87X110X137.05X110 Ft Block 12
Abst 305

amount of any secured claims on Schedule D-
Creditors Who Have Claims Secured by Property.

Check all that apply.

fy] Single-family home

O Duplex or multi-unit building
oO Condominium or cooperative

Current value of the
portion you own?

Current value of the
entire property?

 

[CD Manufactured or mobile home $235,000.00 $235,000.00
0 band

(FD 'nvestment property Describe the nature of your ownership

oO Timeshare interest (such as fee simple, tenancy by the

CO Other entireties, or a life estate), if known.

Who has an interest in the property? Fee Simple

Check one.

oO Debtor 1 only

oO Debtor 2 only

M4 Debtor 1 and Debtor 2 only

[DO At least one of the debtors and another

 

7] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

1.3.

2209 4th Street
Street address, f available, or other description

 

 

 

Wichita Falls TX 76301
City State ZIP Code
County

2209 4th Street, Wichita Falls, TX
76301
Lot 3A Bumgarner Subdivision

Official Form 106A/B

Do not deduct secured claims or exemptions. Put the
amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

What is the property?

Check all that apply.

CD Single-family home

Duplex or muiti-unit building
( Condominium or cooperative

Current value of the
portion you own?

Current value of the
entire property?

 

( Manufactured or mobile home $250,000.00 $250,000.00
oO Land

Investment property Describe the nature of your ownership

oO Timeshare interest (such as fee simple, tenancy by the

1 Other entireties, or a life estate), if known.

Fee Simple

 

Who has an interest in the property?
Check one.

oO Debtor 1 only

CJ Debtor 2 only

4 Debtor 1 and Debtor 2 only

[J Atleast one of the debtors and another

[J Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule AJB: Property page 2
Debtor 1 Michael Edward Ledue
Debtor 2 Constance Ellen Ledue

Case number (if known) _19-70323-11

 

 

1.4.
2210 5th Street

 

Streel address, if available, or olher description

 

 

 

Wichita Falls TX 76301
City State ZIP Code
County

2210 5th Street, Wichita Falls, TX
76301
Lot 1 Bumgarner S/D

What is the property? Do not deduct secured claims or exemptions. Put the
Check all that apply. amount of any secured claims on Schedule D:

oO Single-family home Creditors Who Have Claims Secured by Property.

 

 

7 Duplex or multi-unit building Current value of the Current vatue of the

[J Condominium or cooperative entire property? portion you own?

(0 Manufactured or mobile home $125,000.00 $125,000.00

OD Land

fy] investment property Describe the nature of your ownership
Timeshare interest (such as fee simple, tenancy by the

O

[J Other entireties, or a life estate), if known.

Who has an interest in the property? Fee Simple

Check one.

(CD Debtor 1 only Check if this is community property

( Debtor 2 only (see instructions)

fy] Debtor 1 and Debtor 2 only
oO At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

1.5.
1917 9th Street

 

Street address, ff available, or other description

 

 

 

Wichita Falls TX 76301
City State ZIP Code
County

1917 9th Street, Wichita Falis, TX
76301
50X20 Ft Lot 1 BIk 12 Bellevue Addition

Official Form 106A/B

 

 

What is the property? Do not deduct secured claims or exemptions. Put the
Check all that apply. amount of any secured claims on Schedule D:
1 Single-family home Creditors Who Have Claims Secured by Property.
oO Duplex or multi-unit building Current value of the Current value of the
(] Condominium or cooperative entire property? portion you own?
( Manufactured or mobile home $50,000.00 $50,000.00
( Land
Investment property Describe the nature of your ownership
oO Timeshare interest (such as fee simple, tenancy by the
(J Other entireties, or a life estate), if known.
Who has an interest in the property? Fee Simple
Check one.

Debtor 1 only Check if this is community prope

property

CD Debtor 2 only (see instructions)

fy] Debtor 1 and Debtor 2 only
D At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 3
 

 

Debtor 1 Michael Edward Ledue

Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11

1.6. What is the property? Do not deduct secured claims or exemptions. Put the
1915 9th Street Check all that apply. amount of any secured claims on Schedule D:

 

Street address, i available, or other description

 

 

 

Wichita Falls TX 76301
City State ZIP Code
County

1915 9th Street, Wichita Falls, TX
76301
Lot 1; A BIk 12 Bellvue Addition

Oo Single-family home Creditors Who Have Claims Secured by Property.

oO Duplex or multi-unit building
oO Condominium or cooperative

Current value of the
portion you own?

Current value of the
entire property?

 

(D Manufactured or mobile home $12,000.00 $12,000.00
Land

YJ Investment property Describe the nature of your ownership

o Timeshare interest (such as fee simple, tenancy by the

oO Other entireties, or a life estate), if known.

Who has an interest in the property? Fee Simple

Check one.

(CD Debtor 1 only

(O Debtor 2 only

Debtor 1 and Debtor 2 only

oO At least one of the debtors and another

Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

1.7.
2116 Roberts

 

Street address, if available, or other descnpton

 

 

 

Wichita Falls TX 76301
City Slate ZIP Code
County

2116 Roberts, Wichita Fails, TX 76301

Official Form 106A/B

Do not deduct secured claims or exemptions. Put the
amount of any secured claims on Schedule OD:
Creditors Who Have Claims Secured by Property.

What is the property?

Check all that apply.

(J Single-family home

(0 Duplex or multi-unit building
(0 Condominium or cooperative
oO Manufactured or mobile home
fy Land

Investment property

Oo Timeshare

O Other

Current vatue of the
portion you own?

$3,000.00

Current value of the
entire property?

$3,000.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by the
entireties, or a life estate), if known.

Who has an interest in the property? Fee Simple

Check one.

Debtor 1 only

[J Debtor 2 only

( Debtor 1 and Debtor 2 only

( Atleast one of the debtors and another

 

C0 Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 4
 

 

Debtor 1 Michael Edward Ledue
Debtor2, Constance Ellen Ledue Case number (if known) _ 19-70323-11
1.8. What is the property? Do not deduct secured claims or exemptions. Put the

1410 25th Street

 

Street address, ff available, or other description

 

 

 

Wichita Falls TX 76304
City State ZIP Code
County

1410 25th Street, Wichita Falls, TX
76301

amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Check all that apply.

CJ Single-family home

[J Duplex or multi-unit building
[J Gendominium or cooperative

Current value of the
portion you own?

Current value of the
entire property?

 

[CD Manufactured or mobile home $2,500.00 $2,500.00
fy Land

wy Investment property Describe the nature of your ownership

oOo Timeshare interest (such as fee simple, tenancy by the

Oo Other entireties, or a life estate), if known.

Fee Simple

 

Who has an interest in the property?
Check one.

Debtor 1 only

oO Debtor 2 only

o Debtor 1 and Debtor 2 only

Oo At least one of the debtors and another

CD Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

1.9.

1408 14th Street
Street address, if available, or other description

 

 

Wichita Falls TX 76301
City State ZIP Code
County

 

1408 14th Street, Wichita Falls, TX
76301
Lot 3-A BIk 252 Original Townsite

Official Form 106A/B

Do net deduct secured claims or exemptions. Put the
amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

What is the property?

Check all that apply.

OD Single-family home

( Duplex or multi-unit building Current value of the

portion you own?
$82,000.00

Current value of the
entire property?

$82,000.00

(0 Condominium or cooperative
OD Manufactured or mobile home
fy Land

Investment property

( Timeshare

O Other

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by the
entireties, or a fife estate), if known.

Who has an interest in the property? Fee Simple

Check one.

Debtor 1 only

( Debtor 2 only

O Debtor 1 and Debtor 2 only

[] Atleast one of the debtors and another

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 5
Debtor 1 Michael Edward Ledue

 

 

 

 

 

 

 

 

Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11
4.10. What is the property? Da not deduct secured claims or exemptions. Put the
2212 Sth St. Check all that apply. amount of any secured claims on Schedule D:
Street address, if available, or other description CO Single-family home Creditors Who Have Claims Secured by Property.
[J Duplex or multi-unit building Current value of the Current value of the
[Q Condominium or cooperative entire property? portion you own?
Wichita Falls TX 76301 ( Manufactured or mobile home $125,000.00 $125,000.00
City State ZIP Code oO Land
CD Investment property Describe the nature of your ownership
(0 Timeshare interest (such as fee simple, tenancy by the
Sane Oo Other entireties, or a life estate), if known.
. . Fee Simple
. Who h. t {in th ?
2212 Sth St., Wichita Falls, TX 76301 Gen en mane Property
Lot 1-C, Bik 1, Ledue S/D Abst 350 oo ;
[ Debter 1 only J Check if this is community property
oO Debtor 2 only (see instructions)

Debtor 1 and Debtor 2 only
oO At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that mumber hete............ccccccssescessseesseseesssseesensssessees es >

PERE aE Describe Your Vehicles

Do you own, Jease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$927,300.00

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

oO No
1 Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Subaru Check one. amount of any secured claims on Schedule D:
i ho Have Claims Secured by P .
Model: Outback oO Debtor 1 only Creditors Wi red by Property.
Debtor 2 only Current vatue of the Current value of the
Year: 2015 . .
— oO Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 62,000
PP ge OL, UCU [ Atleast one of the debtors and another $17,000.00 $17,000.00

 

Other information:
2015 Subaru Outback (approx.62,000 [| Check if this is community property

 

 

miles) (see instructions)
3.2. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Dodge Check one. amount of any secured claims on Schedule D:

i hy i b .
Model: Ram Promaster 150 Debtor 1 only Creditors Who Have Claims Secured by Property
Year: 2014 DD Debtor 2 only Current value of the Current value of the

(J Debtor 1 and Debtor 2 only entire property? portion you own?

Approximate mileage: 80,000 [J Atleast one of the debtors and another $15,300.00 $15,300.00
Other information:
2014 Dodge Ram Promaster 1500 DD Check if this is community property
(approx. 80,000 miles} (see instructions)

Official Form 106A/B Schedule A/B: Property page 6
Debtor 1 Michael Edward Ledue

 

 

 

 

Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11
3.3. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Lincoln Check one. amount of any secured claims on Schedule D:
Model: Towncar [7] Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 1996 (0 Debtor 2 only Current value of the Current value of the

. —— [C0 Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 120,000 [DJ Atleast one of the debtors and another $1,625.00 $1,625.00
Other information:
1996 Lincoln Towncar (approx. ( Check if this is community property
120,000 miles) (see instructions)
3.4. Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make: Jaguar Check one. amount of any secured claims on Schedule D:
Model: XJS Convertible [7 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 1995 (J Debtor 2 only Current value of the Current value of the

; (1 Debtor 1 and Debtor 2 only entire property? portion you own?
Approximate mileage: 75,000 [7 Atleast one of the debtors and another $5,100.00 $5,100.00

 

Other information:
1995 Jaguar XJS Convertible (approx. [1] Check if this is community property
75,000 miles) (see instructions)

4.

Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

MW No
O Yes

Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here... ee ccsesccesennteesensstneneseneets >

 

$39,025.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Household goods and furnishings
Examples: Major appliances, fumiture, linens, china, kitchenware

 

 

 

 

O No
MM Yes. Describe.....| Household goods $5,000.00
Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
music collections; electranic devices including cell phones, cameras, media players, games

DD Ne

] Yes. Describe...../ TV's, computer, iPads, printers, VHS/DVD player $3,000.00

 

 

 

 

Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

fy] Ne

oO Yes. Describe...

 

 

 

 

Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

 

O] No
Yes. Describe.....| Golf clubs (ladies) $200.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
Debtor 1
Debtor 2

10.

11.

12.

13.

14.

18.

Michael Edward Ledue

Constance Ellen Ledue Case number (if known)

Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MY No

 

oO Yes. Describe.....

 

 

 

Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

f Ne

 

CO Yes. Describe...

 

 

 

Jewelry
Examptes: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry. watches, gems,
gald, silver

DO No

 

Yes. Describe.....| See continuation page(s).

 

 

 

Non-farm animals
Examples: Dogs, cats, birds, horses

fy] No

 

oO Yes. Describe.....

 

 

 

Any other personal and household items you did not already list, including any health aids you
did not list

fy] No

OD Yes. Give specific

 

information............

 

 

 

Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number here..........csscsssssssecsssscssssessceseressssesssssacssssnsecsaesnsasaesassaseesessssescsesesnesanee a

rx Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16.

17.

19-70323-11

$9,000.00

 

 

$17,200.00

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

 

 

 

 

Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition
OJ No
YOS ce ccccccccccssssecsssceesavsecessssenasssccesesssecsssaususacsssecusasesvetaassecsedcecsosesoasaseadsavenecescenavassesensese Cash $100.00
Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.
| No
4 YOS oot Institution name:
17.1. Checking account: Checking account; Bank of America $245.00
17.2. Checking account: Checking account; Wells Fargo $300.00
17.3. Savings account: Savings account; Bank of America $60.00
17.4. Savings account: Savings account; Wells Fargo $230.00
17.5. Savings account: Savings account; Wells Fargo $80.00
Official Form 106A/B Schedule A/B: Property page 8

 
Debtor 1 Michael Edward Ledue

 

 

 

Debtor2 Constance Ellen Ledue Case number (if known) _19-70323-11
17.6. Savings account: Savings account; Wells Fargo-with Minor $150.00
17.7. Savings account: Savings account; Wells Fargo-with Minor $155.00
18. Bonds, mutual funds, or publicly traded stocks

19.

20.

21.

22.

23.

24,

25.

26.

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
Dp VOSS. cece: Institution or issuer name:
Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture
oO No
fyj Yes. Give specific
information about

 

 

THEM. .....escecrrceeenseeseee Name of entity: % of ownership:
ME Ledue Properties 100% $0.00
ME Ledue Construction 100% Unknown
MC Team LTD 100% Unknown

 

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

1 No
Yes. Give specific
information about
tHE... ceeereeeeeeseree Issuer name:

Retirement or pension accounts
Examples: Interests in JRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

Y No
OD Yes. List each
account separately. Type of account: Institution name:

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

al No

LD VOCS... ee eee Institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
M No

O VOS ooo ecc ccc cee eeeeeee: Issuer name and description:

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

26 U.S.C. §§ 530(b)(1), 529A(b), and 529(6)(1).

No

(0 Yes... Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or

powers exercisable for your benefit

fy] No

CO Yes. Give specific
information about them

 

 

 

 

Patents, copyrights, trademarks, trade secrets, and other intellectual property;

Examples: \nternet domain names, websites, proceeds from royalties and licensing agreements

No

CJ Yes. Give specific
information about them

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
Debtor 1
Debtor 2

Michael Edward Ledue
Constance Ellen Ledue

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

fyj No

Case number (if known)

19-70323-11

 

Yes. Give specific
information about them

 

 

 

Money or property owed to you?

28. Tax refunds owed to you

fy No

C0 Yes. Give specific information
about them, including whether

you already filed the returns

and the tax years... cee

29, Family support

 

 

 

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Federal:
State:

Local:

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

J No

CO Yes. Give specific information

Alimony:

 

 

 

 

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'

compensation, Social Security benefits; unpaid loans you made to someone else

J No

Support:

Maintenance:

Divorce settlement:

Property settlement:

 

fy] Yes. Give specific information | See continuation page(s).

34. [Interests in insurance policies

 

$48,547.07

 

 

Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

0 No

f] Yes. Name the insurance
company of each policy
and list its value...

Official Form 106A/B

Company name:

Farmers New World Life
P.O. Box 248831
Oklahoma City, OK 73124-8831

New World Life
P, O. Box 248831
Oklahoma City, OK 73124-8831

Northwestern Mutual
Client Relations Center
2 Lincoln Centre #1300
5420 Lyndon B Johnson
Dallas, TX 75240

AFLAC
1932 Wynnton Rd.
Columbus, GA 31999

Beneficiary:

Michael Ledue

Michael Ledue

Connie Ledue

Michael Ledue

Schedule A/B: Property

Surrender or refund value:

$0.00

$0.00

$0.00

$0.00

page 10
Debtor 1 Michael Edward Ledue
Debtor2 Constance Ellen Ledue Case number (if known)

32.

33.

34.

36.

36.

Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds fram a life insurance policy, or are currently
entitled to receive property because someone has died

 

Ne

oO Yes. Give specific information

 

 

 

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

fy No

 

oO Yes. Describe each claim........

 

 

 

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

 

 

 

 

 

 

19-70323-11

 

( No
Yes. Describe each claim........ Unclaimed property-Michael LeDue $717.00
Any financial assets you did not already list
fw No
CO Yes. Give specific information
Add the dollar value of all of your entries from Part 4, including any entries for pages you have
$50,584.07

attached for Part 4. Write that number here... sccssetesecsesenseeersscsesessonsdsoeaeneasesaese ces sarsnens cassensneaasseesesees

 

 

REA Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.

38.

39.

40.

41.

Do you own or have any legal or equitable interest in any business-related property?

oO No. Goto Part 6.
4} Yes. Go to line 38.

Accounts receivable or commissions you already earned

LJ Ne

 

7] Yes. Describe..| Unpaid rent

 

 

 

Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,

desks, chairs, electronic devices

 

OO Ne

7 Yes. Describe..] Computer, printers, scanners, copiers, phone system, desks, chairs, file
cabinets, credit card scanner

 

 

 

Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

(J Ne

 

fz] Yes. Describe..| See continuation page(s).

 

 

 

Inventory

 

No
O Yes. Describe..

 

 

 

Official Form 106A/B Schedule AJB: Property

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

$5,486.00

$4,500.00

$14,300.00

page 11

 
Debtor 4 Michael Edward Ledue
Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11

42.

43.

45.

46.

47.

48.

49.

50.

54.

Interests in partnerships or joint ventures
No
( Yes. Describe..... Name of entity: % of ownership:

Customer lists, mailing lists, or other compilations

7 Ne

CE Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

t Ne

oO Yes. Describe...

 

 

 

 

. Any business-related property you did not already list

 

 

 

oO No
vw Yes. Give specific information.
18 ft trailer $1,500.00
40 ft storage trailer $1,500.00
Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here............cccssssssssssessessesesscesssssssseusassensesassssessenssenesasensansscesessnessesvensoes > $27,286.00

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
oO Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Farm animals
Examples: Livestock, poultry, farm-raised fish

4 No
oO Yes...

 

 

 

 

Crops--either growing or harvested

No
Yes. Give specific
information................

 

 

 

 

Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

1 No
oO Yes...

 

 

 

 

Farm and fishing supplies, chemicals, and feed

I No
oO Yes...

 

 

 

Any farm- and commercial fishing-related property you did not already list

fy] No
Yes. Give specific
information................

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 12
Debtor 1 Michael Edward Ledue
Debtor 2 Constance Ellen Ledue Case number (if known) _19-70323-11

 

52. Add the dollar value of al! of your entries from Part 6, including any entries for pages you have

attached for Part 6. Write that number here > $0.00

 

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

No

O Yes. Give specific information.

 

> $0.00

 

54. Add the dollar value of all of your entries from Part 7. Write that number here...........ccsscccesssssessesersssesencees

 

 

| part 8: [Me the Totals of Each Part of this Form

 

 

 

 

 

 

 

55. Part 4: Total real estate, Hine 2............cccsescessecccsssessssenssassssescescoasseesseses setsceeveersreasens ed $927,300.00
56. Part 2: Total vehicles, line 5 $39,025.00
57. Part 3: Total personal and household items, line 15 $17,200.00
58. Part 4: Total financial assets, line 36 $50,584.07
59. Part 5: Total business-elated property, line 45 $27,286.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
Copy personal
62. Total personal property. Add lines 58 through 61.....0....0.. $134,095.07 | property total D> + $134,095.07
63. Total of all property on Schedule AJB. Add line 55 + line 62.0... ccc csecseccssses sees coessseeseseesosseraseessesesescaeeecerenenes $1,061,395.07

 

 

 

Official Form 106A/B Schedule A/B: Property page 13
Debtor 1 Michael Edward Ledue
Debtor2 Constance Ellen Ledue Case number (if known) _19-70323-11

12. Jewelry (details):
Mens & womens clothing $500.00

Mens & womens jewelry $8,500.00

30. Other amounts someone owes you (details):

Unpaid wages from MC Team LTD $15,607.14
Unpaid wages from MC Team LTD-codebtor $15,607.14
Insurance proceeds held by Union Square-4th Street $9,898.58
Insurance proceeds held by Union Square-4th Street $7,434.21

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade (details):

2008 GMC Sierra 1500 (approx. 220,000 miles) $4,600.00
Appliances, lawn equipment, saws, break metal bender $9,700.00

Official Form 106A/B Schedule A/B: Property page 14
EXHIBIT “B”
Case 19-70323-hdh11 Doc 23 Filed 12/18/19 Entered 12/18/19 16:26:19 Page 1of3

3:44 PM

42118119
Accrual Basis

M.E. Ledue Properties / M.E. Ledue Construction

ASSETS
Current Assets
Checking/Savings
DIP Account

Total Checking/Savings

Accounts Receivable
Accounts Receivable

Total Accounts Receivable

Other Current Assets
Undeposited Funds

Total Other Current Assets
Total Current Assets
TOTAL ASSETS
LIABILITIES & EQUITY
Liabitities
Current Liabllities

Accounts Payable
Accounts Payable

Total Accounts Payable
Total Current Liabilities

Long Tarm Liabilities
Notes Payable

Balance Sheet
As of December 18, 2019

Dec 18, 19

862.50
862.50

30,628.72
30,628.72

1,834.00

1,884.00
33,325.22

33,325.22

 

USCU - Quads -76719-19

Total Notes Payable
Total Long Term Liabilities
Total Liabilities
Equity
Opening Bal Equity
Owners Draw/Equilty

Retained Earnings
Net Income

Total Equity
TOTAL LIABILITIES & EQUITY

3,255.68
3,255.68
3,255.68

149,386.40
149,386.40
149,386.40

162,642.08

-276,185.56
258,538.68
561,283.32

23,879.79

__. HBT IR 2S
720,158.31

 

Page 1
Case 19-70323-hdh11 Doc 23 Filed 12/18/19 Entered 12/18/19 16:26:19 Page 2 of 3

3:49 PM M.E, Ledue Properties / M.E. Ledue Construction

12/18/19 Statement of Cash Flows
January 1 through December 18, 2019

OPERATING ACTIVITIES
Net Income
Adjustments to reconcile Net Income
to net cash provided by operations:
Accounts Receivable
Accounts Payable

Net cash provided by Operating Activities

INVESTING ACTIVITIES
Shareholder Loan

Net cash provided by Investing Activities

FINANCING ACTIVITIES
Notes Payable:FN& of WF - Sth St.
Notes Payable:Property Tax Loan
Notes Payable:USCU - Quads -76719-19
Owners Draw/Equity

Net cash provided by Financing Activities
Net cash increasé for period
Cash at beginning of period

Cash at end of period

Jan 1 - Dec 18, 19 ;

23,879.79

16,539.21
___ 2588.66

43,007.66

-5,940.00
27,200.13
24,339.83
-3,250.00

712,050.30
30,170.36
6,546.96
36,717.32

 

 

Page 1
ss pmc ese 19-70323-ndi & Dog rie BRS u ri ME Vee eG RALGA 19 Page 3 of 3

12/18/19
Accrual Basis

Profit & Loss

January 1 through December 18, 2019

Ordinary income/Expense
Income

Fee Income

Rental
Sales

Total Income

Grass Profit

Ex

pense

Automobile Expense
Bank Service Charges

Cleaning Service
Contract Labor
Filing Fees
HVAC

Insurance

Interest Expense
Finance Charge
Loan Interest

Total Interest Expense

Lawn Service

Reconciliation Discrepancies

Repairs

Building Repairs
Equipment Repairs

Plumbing
Total Repairs

Supplies
Office

Total Supplies

Taxes
Property

Total Taxes

Otilities
Electric
Water
Utilities - Other

Total Utilities

Total Expense

Net Ordinary Income

Other Incame/Expense

Other Expense
Bad Debt

Total Other Expense
Net Other Income

Nat Income

110.00

65,478.00
43,650.36
79,238.36

79,238.36

50.00
152.00

411.35
4,312.50
376.00
486.44
4,023.25

6.25

_ 3,420.75

3,427.00

280.00
-200.00

764.80
350.75
666.83

1,782.38

48.90
48.90

11,864.49

11,864.49

1,356.48
7,493.57
21.00

32,895.36
46,343.00

22,463.21
22,483.21

-22,463.21

23,879.79

Page 1
EXHIBIT “C”
Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 1 of 13

B25 (Official Form 28C) (1208)

UNITED STATES BANKRUPTCY COURT

Northern ¢ Easter WwW District of Texas

In re Mich VE. + Constance & Ledue. Case No. 19-703 23-hdhl|

Debtor
Small Business Case under Chapter 1}

SMALL BUSINESS MONTHLY OPERATING REPORT

Month: Moy Date filed: U-20-20

cho
$Zillo 23618
Line of Business: Rental Properties / Construction NAISC Code: $3 4] 2 20

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF
PERJURY THAT I HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE
ACCOMPANYING ATTACHMENTS AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE,

CORRECT AND COMPLETE.

RESPONSIBLE PARTY:

 

 

Original Signature of Responsible Party

Cenastan ce Lede. =
Printed Name of Responsible Party

Questionnaire: (Ai guestions fo be answered on behalf of the debtor} Yes No
1. 1S THE BUSINESS STILL OPERATING? my oO
2. HAVE YOU PAID ALL YOUR BILLS ON TIME THIS MONTH? a oO
3, DID YOU PAY YOUR EMPLOYEES ON TIME? oO N |p o
4. HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO THE DIP ACCOUNT md 1
THIS MONTH?
5. HAVE YOU FILED ALL OF YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES THIS ce” i)
MONTH
6. HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS? oY o
7. HAVE YOU PAID ALL OF YOUR INSURANCE PREMIUMS THIS MONTH? a Oo
§. DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH? 4 oO
9. ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENT TO THE U.S. TRUSTEE? mW O
10. HAVE YOU PAID ANYTHING TO YOUR ATTORNEY OR OTHER PROFESSIONALS THIS | oO
MONTH?
il. DID YOU HAVE ANY LINUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES THIS oy oO
MONTH?
12. HAS THE BUSINESS SOLD ANY GOODS OR PROVIDED SERVICES OR TRANSFERRED ANY o oy
ASSETS TO ANY BUSINESS RELATED TO THE DIP IN ANY WAY?
Yr a

3. DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER TIIAN THE DJP ACCOUNT?
Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 2 of 13

Page 2

B 25C (Official Form 25C) (12/08)
14. HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY THIS MONTH?

15. DID ANY INSURANCE COMPANY CANCEL YOUR POLICY THIS MONTH?
16. HAVE YOU BORROWED MONEY FROM ANYONE THIS MONTH?
17. HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS THIS MONTH?

QoQaoaqaaqaq
NQgaeg

18 HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?

TAXES

DO YOU HAVE ANY PAST DUE TAX RETURNS OR PAST DUE POST-PETITION TAX iw
OBLIGATIONS?

IF YES, PLEASE PROVIDE A WRITTEN EXPLANATION INCLUDING WHEN SUCH RETURNS WILL
BE FILED, OR WHEN SUCH PAYMENTS WILL BE MADE AND THE SOURCE OF THE FUNDS FOR

THE PAYMENT.

Oo

(Exhibit A)

INCOME

PLEASE SEPARATELY LIST ALL OF THE INCOME YOU RECEIVED FOR THE MONTH, THE LIST
SHOULD INCLUDE ALL INCOME FROM CASH AND CREDIT TRANSACTIONS. (THE U.S. TRUSTEE
MAY WAIVE THIS REQUIREMENT}

TOTAL INCOME $3 2 /o*?t as

 

 

SUMMARY OF CASH ON HAND
Cash on Hand at Start of Month
Cash on Hand at End of Month
PLEASE PROVIDE THE TOTAL AMOUNT OF CASH CURRENTLY AVAILABLE TO YOU TOTAL
(Exhibit B)

 

EXPENSES

PLEASE SEPARATELY LIST ALL EXPENSES PAID BY CASH OR BY CHECK FROM YOUR BANK
ACCOUNTS THIS MONTH, INCLUDE THE DATE PAID, WHO WAS PAID THE MONEY, THE
PURPOSE AND THE AMOUNT. (THE U.S. TRUSTER MAY WAIVE THIS REQUIREMENT)

TOTAL EXPENSES s |S}.

 

 

(Exhibit C)

CASH PROFIT

INCOME FOR THE MONTH (TOTAL FROM EXHIBIT B)

EXPENSES FOR THE MONTH (TOTAL FROM EXHIBIT C) .

(Subtract Line C fiom Line B) CASH PROFIT FOR FHE MONTH — s _

 
Case,19-70323-hdh11 Doc 40 Filed 04/20/20 “Entered 04/20/20 16:24:40 Page 3 of 13°
fe

   

PO Box 3813 * Wichita Falls, TX 76301 «© mledue@gmail.com * 940-723-8515

April 20, 2020

SMALL BUSINESS MONTHLY OPERATING REPORT

Re: “Taxes”, pg 2

Our 2018 tax return has not been filed. An extension has been filed for this

return. We hope to have this filed scon.

We do not anticipate owing any taxes.

Constance Ledue
M_E. Lehi oigpeeesndnit Doc 40 Filed RLRAY rreetsred 04/20/20 15:24:40 Page 4 of 13 March

M.E. Ledue Construction

 

A

B |

D |

E

 

 

Date

Rec'd From:

Amount

Balance

 

 

 

 

 

 

 

 

 

6-Mar

Beginning Balance |

3-Mar |

5-Mar
5-Mar
13-Mar_
20-Mar |

| 27-Mar

31-Mar

C Bryant
THansboro

Jsmith

WFHA |

JPineda Feb final

J Pineda - March #1

J Pineda | aes
WHA-late pymt for T.
Hansboro

_ March #200

March

... $212.00
___.$100.00

$590.00
_ $37.00

_ $250.00
$250.00 _

__ $354.00

 

Income minus Expenses

Month's Total $2,709.00

-$806.98

$444.39

__.. $1,160.39,

$1,750.39

- $1,787.39
| $1,999.39
$2,099.39

$2,349.39
$2,599.39

| $3,153.39

-$362.59

 

 
pop ee IaQyclt
M.E. Ledue Construction

Gase t8-76323-hdhit pee-46-Hled 04/20/20 —entered 04/20/20 15°24°40 Page 5 of 13
C D E

 

 

Date
1 Pd. Paid To: Purpose Amount Balance

 

 

 

 

 

__ $122.95 __ $122.95
__ $350.00 $472.95
__. $324:00 $796.95

2_| 2-Mar Pulse Power Elec. For 2209 4th HL

 

|3.| 3-Mar Julio Hernandez Roof repairs - 403 Polk

 

4} 6Mar Laborers Shop work |

 

2} &-Mar WF - Water Dept ‘Water bills: 403 Polk, 2209 4th, 2210 5th _

 

___ $655.95 | $1,452.90

  

6 | 6-Mar Sid Maldonado Paint for 2210 Sth #2 $300.00 $1,752.90

7 | 6 Mar WF - Water Dept. Water bill: 411 Polk- Owner's Draw $61.14 $1,814.04
$364.00 $2,178.04

 

8_| 8-Mar Laborers. == Shop work

 

9 | 9-Mar Sid Maldonado __Labor to paint 2201 Sth #2)

 

$175.00 | $2,353.04

 

10 | 10-Mar Service One HVAC repairs - 403 Polk #B - ___.. $175.00___ $2,528.04

 

ii | 12-Mar Stonemark Ins. Insurance for Quads & 9th St. |

 

12) 12-Mar Cirro Energy Elec. For 2210 Sth #1; Feb/March = $221.38 $3,034.01
|.13 | 19-Mar Artistic Checks checks for new ME Prop/ME Const DIPacct $7.47 $3,041.48
| 14 | 20-Mar D Enriquez ‘refunded sec, dep, - guarantee by B Kitchell “_$200,00 $3,241.48
__. $21.00, $3,262.48

_...$250,00 $3,512.48

 

13] 27-Mar Stonemark Ins. insurance |

 

|_16 | 27-Mar Ledue Household Owner's draw

| 17 | 31-Mar First Nat'l Bank = monthly service charge $3.50 $3,515.98
ig Month's Total . $3,515.98

 

 

20 ee eee ee Fete seat

 

21 dese . . Bee ee ae . ———-, . Re ee et we wee see weer

 

 

 

 

 

 
Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 6 of 13.503
B 25C (Official Form 28C} 442-08}
UNPAID BILLS

PLEASE ATTACH A LIST OF ALL DEBTS (INCLUDING TAXES) WHICH YOU HAVE INCURRED
SINCE THE DATE YOU FILED BANKRUPTCY BUT HAVE NOT PAID. THE LIST MUST INCLUDE
THE DATE THE DEBT WAS INCURRED, WHO IS OWED THE MONEY, THE PURPOSE OF THE
DEBT AND WHEN THE DEBT IS DUE. (THE U.S. TRUSTEE MAY WAIVE THIS REQUIREMENT)

TOTAL PAYABLES $ 27 /,1,

 

(Exhibit D)

MONEY OWED TO YOU

PLEASE ATTACH A LIST OF ALL AMOUNTS OWED TO YOU BY YOUR CUSTOMERS FOR WORK
YOU HAVE DONE OR THE MERCHANDISE YOU HAVE SOLD. YOU SHOULD INCLUDE WHO
OWES YOU MONEY. HOW MUCH IS OWED AND WHEN IS PAYMENT DUE. (THE U.S. TRUSTEE MAY

WAIVE THIS REQUIREMENT.)
TOTALRECEIVABLES $ | 7 7S G2

(Exhibit E)

BANKING INFORMATION

PLEASE ATTACH A COPY OF YOUR LATEST BANK STATEMENT FOR EVERY ACCOUNT YOU
HAVE AS OF THE DATE OF THIS FINANCIAL REPORT OR HAD DURING THE PERIOD COVERED

BY THIS REPORT.

(Exhibit F)

EMPLOYEES

NUMBER OF EMPLOYEES WHEN THE CASE WAS FILED?
NUMBER OF EMPLOYEES AS OF THE DATE OF THIS MONTHLY REPORT?

 

PROFESSIONAL FEES
BANKRUPTCY RELATED:
PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID DURING THIS REPORTING
PERIOD? $3
TOTAL PROFESSIONAL FEES RELATING TO THE BANKRUPTCY CASE PAID SINCE THE FILING 5 EOS O°

 

 

OF THE CASE? PRS
NON-BANKRUPTCY RELATED:

PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID DURING THIS -
REPORTING PERIOD? Can
TOTAL PROFESSIONAL FEES NOT RELATING TO THE BANKRUPTCY CASE PAID SINCR THE -
FILING OF THE CASE? a

 
M.E. Ledue Properties
M.E. Ledyeacen6y4qh923-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 7 of 13

Monthly Payables

March

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[_ A B C D E
1 | Bill Date |Payee Purpose Amount Date Due
2 pee eee fe eee eee cee vince eee ee Soca cee
3] 1-Dec Breegle's Bldg. Flooring for 2209 ath St. #2 _ $219.69
4 _. ~
5 _ _.
6 an - pe, _ ae a _ cee —_

? _ a wets _ _ ee

8 eee ee _ ado

10 oo . __Total, $219.69)
Lu _ Oo

12

 

 

 

 

 

 

 

 
M.E, Ledue Properties Monthly Receivables March
M.E. Led@aSerbO-7OB2B-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 8 of 13

A B Cc D E

 

 

 

 

 

 

i Bill Date | Debtor Purpose Amount Date Due

 

2 1-Dec  ChrisHooper = Rent _| $560.00 _9-Dec

 

 

 

 

 

 

3. | 1-Nov  ChrisHooper Rent ; $560.00 -  5-Nov
4}  1-Oct (ChrisHooper Rent ; a $560.00 5-Oct
5 | 1-Sep _ChrisHooper Rent | $560.00 © 5-Sep__
6 1-Aug Chris Hooper sRent _ _ $500.00 i _s-Aug
7} 1-Mar Kathy Hooper Rent _ ; _ $520.00 | 5-Mar
B | 1-Feb Kathy Hooper _ Rent $520.00 5-Feb
9 i-Jan Kathy Hooper ss Rent ott ee nt, $920.00 5-Jan

 

10} 1-Dec  KathyHooper = :Rent = $520.00 5-Dec
$520.00 | 5-Nov

$324.57 § — 5-Oct

it “1-Nov Kathy Hooper ‘Rent |

 

12 1-Oct Kathy Hooper (Rent wee

 

13 | 26-Nov _ Truity Construction Inv 53254: Materials _ $5,019.00. 15-Jan

 

14 _ Jose Pineda Back Rent _ $1,562.05
15, ete tt

16 nnn a
$12,245.62.

 

L ene _ Total Receivables

 

 

 

 

 
Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 9 of 13

Wells Fargo Everyday Checking

March 25, 2020 mm Page 1 of3

 

GO0BRL2 (A AR LAH GAUTO 77 Gase7 75 Si CUZ RGB3T
tba EedaeP Ugg Ty poefeet fafa foto beedtfep fel ferfey
CONNIE LEDUE

477 POLK ST

WICHITA FALLS TX 76303-3023

 

 

 

Questions?

Availabie by phone 24 hours a day, 7 days a weer:
Telecommunications Relay Se-wees calls accepted
1-800-TO-WELLS (1-800-869-3557)
TTY: 1-800-877-4843
En espanol: 1-877-727-2932

& 1-800-288-2288 (6 om to 7 pm PT, M-E)

 

 

Online: wellsfargo.com

Write: Weils Farnga Bank, N.A. (808)
P.O, Box 6995
Partiand, OR 97228-6995

 

You and Wells Farga
Thank you far being a loyal Wells Fargo customer. We value your trust in our
company and took fonward to continuing to serve you with your financial needs,

 

 

 

Activity summary
$0.00
693 39
Wikdtawals/ subtractions + 68.6}
Ending balance on 3/25 $624.78

Overdraft Protection
, GT 15 OT ent
sine aumonr listed on your statement or visit your Wells Farge stove

   
   

Account options

Acheck mark in the box indicates you have these
canveriignt services with your accountiss Ge ty
welisfarga.com or call the number abuve if you have
questions or if vou would like to add new services.

Onfire Ranking Wi Drect Depasit

    
  

 

Onkne Rub Bay Auto lranslerPaymaert :

 

 

Online Statements 7} Overdieaft Pratecton FT
Monilg Banking [7p Deor Card
My Spending Report (7! Overdraft Serwce {|

Account number: 5001985950
CONNIE LEDUE
Texas/Arkonsas accoun! ferry ond Cutdibe a3 apply

For Dect Deposit use
Routing Number (RTNE 131900659

‘covered by Overdraft Protection. ifyou would like mote information regarding Overdrait Protection and eligraiity requvemects

we Ke AD OR Ce

andr
 

Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 10 of 13

Agcy 25,2020 g Page 2 of 3

 

 

 

 

 

Transaction history

 

     

 

 

 

Check Depasitss Ait fi cade Ends
__ Nuneber Lesenption _ Additions Subfactions
Edaposit N Branch/Store 02/28/20 06:27:45 Pm 4590 <el| Sivd PAGS
Viichia Fall) TX S453 a
39 Purchase authorized on 03/06 CT-Wichita-Falls-U 940-761-7414 6114 483.29
TX 3466066703642366 Card 5453
Moblie Deposit : Ref Number :213100241432 # 37,00
MobHe Deposit : Ref Number :31310024176B8 (felzae ' B22 93
Purchase authorized on 03/24 Dci:*Your Check Ord . S747 62478
SGD Aad 2843 CO S380084280236410 Card 5452
Ending balance on 3/25 624,78
Totals 5693.39 $68.6)

sioner does nor whet uy pending yithdrayeals of balds on deposited funds that may have been outstanding er your accaynt when yout

ufficien: avaitabie tunds when @ transaction posted, fees may Gave been assessed

  

you

 

Monthly service fee summary

ist offees and detailed account information. see the Wells Fargo Account Fee and Information Schedule and Account Agreement aaplicabie to
sy®ay Carc Terms and Conditions for prepaid cards) or tatk to a banker, Go to wellsfargo.com/leefag for a sink to these documents, and answers
HITHON Moninly service fee questions,

    
 
 

_.. dtandard monthly service fee $10.00 0 You paid $0.00

 

veriod 02/28/2020 03/25/2020

 

 

We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee, You! fee waiver is aout to expire. You vii
need io meel the requrenent{s! to avald the monthly service fee.

 

How to avoid the mouthly service fee Minimum required ‘ This fee period

ONE of the fotl
rumum daily baie

  
   

j account requirements
: $1,500.00 $383.25 [
> Tata anourtol qualify rect deposits $500.00 $0.00 To

Total surmpe: of posted dabu card purchases or posted debit card payments of iQ 2

ty

   

 

Hs any compbinghon
the fee is waved when the account is inked to a Wells Fargo Campus ATM or

   

 

Monthly service fee discountis} (applied when box is checked}

 
 

af ormary accoget awne! 3 27 - 24 (510.00 Hiscourn C

NIQOR19

Te Oy UGB, C4 GOS!

  
. Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 11 of 13

Page 4

B 28C (Official Form 25C) {t 2/08)

PROJECTIONS

COMPARE YOUR ACTUAL INCOME AND EXPENSES TO THE PROJECTIONS FOR THE FIRST 180
DAYS OF YOUR CASE PROVIDED AT THE INITIAL DEBTOR INTERVIEW.

Projected Actual Difference
INCOME $ § $
EXPENSES 5S. es
CASHPROFIT $0 $ $
TOTAL PROJECTED INCOME FOR THE NEXT MONTH: $
TOTAL PROJECTED EXPENSES FOR THE NEXT MONTH: $

TOTAL PROJECTED CASH PROFIT FOR THE NEXT MONTH: _ _

ADDITIONAL INFORMATION

PLEASE ATTACH ALL FINANCIAL REPORTS INCLUDING AN INCOME STATEMENT AND BALANCE SHEET
WHICH YOU PREPARE INTERNALLY.
ue Construction

Case 19-70323-hdh11 Doc 40 Fite 04/20/20 Entered 04/20/20 15:24:40 Page 12 of 13

 

1:43 PM
04/20/20 Balance Sheet
Accrual Basis As of March 31, 2020
Mar 31, 20
ASSETS
Current Assets
Checking/Savings
DIP Account ; 895,99
Total Checking/Savings 895.99
Accaunts Receivable
Accounts Recelvable 1,039.00
Total Accounts Receivable 1,039.00
Total Current Assets 4,934.99
Fixed Assets
Real Estate
44th St Warehouse/Bus Station 85,000.00
4th St / Polk St. Apartments 262,000.00
Sth St. Apartments 119,708.33
9th Street 75,000.00
Total Real Estate $41,708.33
Total Fixed Assets $41,708.33
TOTAL ASSETS 643,643.32
LIABILITIES & EQUITY
Liabilities
Long Term Liabilities
Notes Payable
FNB of WF - Sth St. 9,206.66
Property Tax Loan 11,726.76
USCU - Quads -76719-19 149,386.40
USFCU-14th St. - 76719-40 61,945.51
Total Notes Payable 232,265.33
Total Lang Term Liabilities 232,265.33
Total Liabilities 232,265.33
Equity
Owners Draw/Equity 257,568.93
Total Equity a 257 568.93
TOTAL LIABILITIES & EQUITY 489,834,26

Page 1
Case 19-70323-hdh11 Doc 40 Filed 04/20/20 Entered 04/20/20 15:24:40 Page 13 of 13

 

4:46 PM M.E. Ledue Construction
04/20/20 Profit & Loss
Accrual Basis March 2020
Mar 20
Ordinary Income/Expense
Income
Rental 3,831.00
Total income 3,831.00
Gross Profit 3,831.00
Expense
Bank Fees 0.20
Contract Labor 688.00
HVAC 175.00
insurance 326.59
Refund 200.00
Remodeling 455.00
Utilities 38.48
Total Expense a 1,883.27
Net Ordinary Income ; 4,947.73
1,947.73

Net Income

Page 1
EXHIBIT “D”
Ayinbg

TE?’Sprr$
00'000‘SS$

00°000'Sp$ SsexeL

G6'OET‘OE$
00'00T‘6$

Ui 6027 YUM Ose

00°000‘Z8T$

00'000’czT¢$

yqaq

 

00°00p’E$ 00°Sz0'6E$
00°00S’z$ 00°00T’S$
00°006$ 00°Sz9'T$
yduaxy 00'00€’STS
ydwaxy 00°000’2T$
00°SLE*ET HS 00°00€’z08$
00°000°SS$ 00°000°¢8$
00°SZE'TS 00°00S‘z$
00°0S9‘T$ 00°000’¢$
00°009’9$ 00°000‘zT$
00°00S‘Zz$ 00°000’0S$
00°0SZ'89$ 00°000’SzT$
00°00S‘ZETS$ 00°000’0Sz$
00°000‘SzT$ 00°000’SEz$
jdwax3 00°008’¢r$
anjeA uonepinbry anjeA
anjeA pe yepinbiq onjeA

7]230L
SCX 4enbel S66T
JCOUMOL UJODUIT 966T

ue/
JaISeWOlg WEY -TOZ

AIEGINO N4AEGNS STOZ
SIPIYSA - J Wed

=]eJO]
YS WT 8OrT
4S UIST OTbT
SH2eq0u" OTT
IS 416 ST6T
4S 446 ZT6T
4S WIS OTCC

(3S 410d €0r
SOPNIDU!) “IS YI 607Z

SUB] |OIED SOOT

YS AlOd TTp
9}e}sq |/edy - T Wed

Wo]
00°009’8$

00°000'z$

00°009'9$

O00'SLE‘SEP$

00°000’7$
ydwax
dwiaxy
JdWaxy

ydwaxy

00°000‘z$

00°009’9$
00°0$

00°000'S$

00°009‘T$

00°0$
ydweaxy
jdwax3
ydwaxy

idwiaxy

00°898’0z76$ :SJeJOL pues

00°920'6z$ JEJOL

00°00S’T$ Jaletl BHe103S Or
00°00S’T$ 4d241 QT
00°00E’pT$ S]OO] g AJaulyseW
00°00S‘r$ ‘dinby e210
00°972‘Z$ sjuad predun

Ajsedoig poejay-ssouisng - ¢ Jeg

OO'ZTE'bES je]0L

0O'ZTZL$ Ayiadoig pawiejsun
00°000'zE$ Auejes predun
00°009’T$ ‘syooy OB1e4 SIIaM

sjessy /BIueuly - p wed

00°00z’9T$ [E301
00°000’8$ Aajamar 9g Bulyo|D

00°007$ juswidinby spods
00°000’E$ $91U0.1399/9
00°000’S$ Spoob pjoussnoy

Ployasnoy - € Wed
EXHIBIT “E”
EXHIBIT E

The amount of cash on hand on the effective date of the Plan will be $8,000.00 that will come
from the Debtors’ operations.
EXHIBIT “Fr”
00°000‘9T
00°000’9
00°002
00°000'T
00°0SZ
00°000°S

00°00S

00°0Sr
00°082
00°002’0T

00°008'T6
00°00¢‘TT
00°002'r
00°000’9

00°002‘0Z

Ayjenuuy

pjos 9q OL ‘dod (Z) OO'TZT’ZT

00°00S

00°S
00°S9
00°0S8

J2JOL BWODUT
00°0S6
00'OSE
00°00S

00°0S8'S

s4ieask s

4A / SHUN QO'OSZ'T
Z ‘sjuwojday pajyedionuy

saxel, Auadoid
aoueinsuy AUedold
JO1}U07 4Sdq

je) UME]
Buiquinid

OVAH

jUaWsle|day/seday ao.uelddy

00°0ZE"b 00°09
00°S¢cT
00°008
00°S99
(suleday)

00°OSE
0O0'SZE
00'08r 00°0r
00°00S"Z 00°SZ9
00°899'0Z JE}0] SWODUT
00°892’8 00°689
00°007'T 0O'O0T
00'008’T 00'OST
00°00b’6S 00°0S6’r

Ayenuuy AjyUuoW

quawny

UOd!IWS[O1g 129A DAIS

:suleday

SSO7) UO!DIAJ
spend - sawn
spend - 4a]eM

:sasuodxy

(z / €) saseaq apap
jUBaWINb 2 sjooL
Jusy “3S UPT

0S59$ / OSG$ ‘Judy Bay
Aauedns90 %G/ :spend

9WODUT JeUDY
00°SE8’09

00°S96’Sr
00°008‘90T

00°0SS’E
00°0SS
00°000’€

00°000‘ST
00°000‘ST

00'STP’Zbr
00'°SES'T

je}O| asusdxy

J2JO] BWODUT

je}O] asuadxy

00°29€'Sr

sesuedxy 00°996'8€
SWOSUT OO'STE’b8

00'02r'Z
000
00°000'z

00°0S9’ET
00°0S9’ET

00°9€S‘9E
00°009’E

sosusdxq

wo DUT

je}0 | asuedx

je}O] BWOdUT

je}0] asuadxy

sjeJO] pueig

SasuadxXy ony
sJasiogey

:sasusdxy

QWOIUJ

:UOI}INAYsSUOyD

sueo7]
